      Case 4:18-cv-00870-P Document 1 Filed 10/23/18                  Page 1 of 43 PageID 1


Jerry J. Jarzombek
301 Commerce Street, Suite 2900
Fort Worth, Texas 76102
817-348-8325
817-348-8328 Facsimile
jerryjj@airmail.net


                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                    FORT WORTH DIVISION

______________________________________
                                       §                  Civil Action No.
ANDREA D. SMITH,                       §
                                       §
            Plaintiff,                 §
                                       §                  COMPLAINT
      vs.                              §                  and
                                       §                  DEMAND FOR JURY TRIAL
PALLIDA, LLC and                       §
MARK W. STOUT,                         §
                                       §
            Defendants.                §
______________________________________ §                  (Unlawful Debt Collection Practices)


                                           Preliminary Statement

        1.       Plaintiff, Andrea D. Smith (“Smith”) brings this action under the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), as well as under the Texas Debt Collection Act,

Texas Finance Code § 392.001, et seq. (“TDCA”) the Texas Deceptive Trade Practices Act,

Subchapter E, Chapter 17, Business & Commerce Code (“DTPA”) and the Texas Civil Practice &

Remedies Code, Chapter 12 (“CPRC”), to obtain statutory damages, actual damages, injunctive

relief, declaratory relief, and other relief for the Defendants’ violations of the FDCPA, the TDCA,

the DTPA, and the CPRC.



COMPLAINT and DEMAND FOR JURY TRIAL - Page 1
      Case 4:18-cv-00870-P Document 1 Filed 10/23/18                  Page 2 of 43 PageID 2


        2.       Defendant, Pallida, LLC (“Pallida”) attempted to collect a consumer debt allegedly

owed by Plaintiff, arising from a purported obligation to First USA Bank. The obligation (“Debt”)

required Plaintiff to pay money arising out of transactions in which money, property, insurance or

services were the subject thereof, and the same were primarily for personal, family, or household

purposes. Specifically, the alleged debt arose from an alleged default of an account with First USA

Bank, which would have been used by the Plaintiff for non-business purposes. Pallida claims to

have acquired the Debt after default, through a series of assignments from related entities.

        3.       Defendant, Mark W. Stout (“Stout”) filed a garnishment suit in a Parker County

District Court, in an attempt to collect a judgment obtained by Dodeka, LLC on February 6, 2008,

which has become dormant, and allegedly owned by Pallida (through a series of assignments),

arising from a purported obligation to First USA Bank. The obligation (“Debt”) required Plaintiff to

pay money arising out of transactions in which money, property, insurance or services were the

subject thereof, and the same were primarily for personal, family, or household purposes.

Specifically, the alleged debt arose from an alleged default of an account with First USA Bank,

which would have been used by the Plaintiff for non-business purposes.

                                           Jurisdiction and Venue

        4.       Jurisdiction of this Court attains pursuant to 15 U.S.C. § 1692k(d), 28 U.S.C. §§ 1331

and 1337(a), and the doctrine of supplemental jurisdiction for the TDCA, DTPA and CPRC claims

pursuant to 28 U.S.C. § 1367.

        5.       Venue in the Northern District of Texas is proper under 28 U.S.C. § 1391(b)-(c) and

because the acts and transactions occurred here and the Defendants transact business here.




COMPLAINT and DEMAND FOR JURY TRIAL - Page 2
      Case 4:18-cv-00870-P Document 1 Filed 10/23/18                   Page 3 of 43 PageID 3


                                                 Parties

        6.       Plaintiff is a citizen of the State of Texas. Plaintiff is a “consumer” as defined by 15

U.S.C. § 1692a(3) and Texas Finance Code § 392.001(1).

        7.       Defendant, Pallida is a Delaware corporation engaged in the business of collecting

consumer debts in the Northern District of Texas, with its mailing address at 2003 Western Avenue,

Suite 340, Seattle, Washington, 98121-2162. The principal purpose of Pallida’s business is the

collection of consumer debts which it has acquired after default. Pallida does not extend credit to any

of the consumers whose debt it acquires. Rather, the sole purpose of the acquisition of these

defaulted debts is their collection for a profit. Pallida is a “debt collector” as defined by 15 U.S.C. §

1692a(6) and TEX. FIN. CODE § 392.001(6). Pallida is also a “third-party debt collector” as defined

by TEX. FIN. CODE § 392.001(7). Pallida may be served through Corporation Service Company d/b/a

CSC-Lawyers Inco, its registered agent, at 211 E. 7th Street, Suite 620, Austin, Texas 78701.

        8.       Defendant, Stout is an individual engaged in the business of collecting debts in this

state with his principal place of business located at 421 S. Third Street, Suite 910, Fort Worth, Texas

76102. A principal purpose of Stout’s business is the collection of debts using the mail and the

telephone, and Stout regularly attempts to collect debts alleged to be due another, or acquired after

default. Stout is a “debt collector” as defined by 15 U.S.C. § 1692a(6) and TEX. FIN. CODE §

392.001(6). Stout is also a “third-party debt collector” as defined by TEX. FIN. CODE § 392.001(7).

Stout may be served at his place of employment at 421 S. Third Street, Suite 910, Fort Worth, Texas

76102 or wherever he may be found.




COMPLAINT and DEMAND FOR JURY TRIAL - Page 3
      Case 4:18-cv-00870-P Document 1 Filed 10/23/18                  Page 4 of 43 PageID 4


                                               Factual Allegations

        9.       On October 23, 2017, Stout filed an Application for Turnover in Cause No.

CV071588 in the 43rd District Court, Parker County, Texas, styled Dodeka, L.L.C. v. Andrea D.

Smith. See Exhibit A (less the exhibits made part of the filing in the State Court). The Application

for Turnover sought the seizure of “funds being held by Frost Bank” which were already subject to a

Judgment of Garnishment entered on June 27, 2017. The “funds being held by Frost Bank” included

Smith’s wages, which are proceeds of exempt property.

        10.      On June 21, 2018, the 43rd Judicial District Court of Parker County, Texas signed an

Order denying the Application for Turnover in Cause No. CV071588. See Exhibit B.

        11.      Also on June 21, 2018, the 43rd Judicial District Court of Parker County, Texas signed

an Order to Enforce Judgment in Cause No. CV17-0117, styled Pallida, LLC successor in interest of

Dodeka, LLC v. Frost Bank. The effect of this Order was to return funds on deposit with Frost Bank

to Smith, (less $1,500.00 for Frost’s attorney’s fees), impounded as a result of a garnishment suit

filed by Pallida. See Exhibit C.

        12.      Having been denied turnover relief, and perhaps fearing Frost Bank’s compliance

with the Order to Enforce Judgment, Stout filed another garnishment suit on behalf of Pallida the

next day, June 22, 2018, as Cause No. CV18-0758, styled Pallida, LLC successor in interest of

Dodeka, LLC v. Frost Bank.

        13.      Defendants had the Writ of Garnishment issued and served the same day the suit was

filed, June 22, 2018. See Exhibit D, a true and correct copy of the executed Writ of Garnishment.




COMPLAINT and DEMAND FOR JURY TRIAL - Page 4
      Case 4:18-cv-00870-P Document 1 Filed 10/23/18                  Page 5 of 43 PageID 5


        14.      The Application and the Affidavit of Courtney Dodd (in support of the Application)

both claim the judgment originated on February 6, 2008, in Cause No. CV071588 in the 43rd District

Court, Parker County, Texas, styled Dodeka, L.L.C. v. Andrea D. Smith. Neither the application nor

the affidavit cites to an execution in the ten years following the entry of judgment. Nor do the

records of the 43rd District Court reflect any execution in the ten year period following February 6,

2008. A previous Writ of Garnishment does not revive the judgment. See Shields v. Stark, 51 S.W.

540, 540 (Tex. Civ. App.—Fort Worth 1899, no writ) (concluding that writ of garnishment was not

in any sense an execution and did not keep judgment alive). See Exhibit E, a true and correct copy of

the Application for Writ of Garnishment and supporting Affidavit (less the exhibits made part of the

filing in the State Court).

        15.      The preservation and dormancy of judgments is governed by section 34.001 of the

Civil Practice & Remedies Code, which provides in pertinent part as follows:

        (a) If a writ of execution is not issued within 10 years after the rendition of a judgment of a
        court of record or a justice court, the judgment is dormant and execution may not be issued
        on the judgment unless it is revived.

        (b) If a writ of execution is issued within 10 years after rendition of a judgment but a second
        writ is not issued within 10 years after issuance of the first writ, the judgment becomes
        dormant. A second writ may be issued at any time within 10 years after issuance of the first
        writ.

Id. § 34.001(a), (b). Under section 34.001, a judgment does not become dormant until the expiration

of ten years from the date the last writ of execution was issued. See id. § 34.001(b). If no writ of

execution is issued within ten years after the judgment is rendered, the judgment becomes dormant.

Id. § 34.001(a). A judgment creditor may renew a judgment “indefinitely by having a writ of

execution issued within ten years of the previous writ” to prevent the judgment from becoming



COMPLAINT and DEMAND FOR JURY TRIAL - Page 5
      Case 4:18-cv-00870-P Document 1 Filed 10/23/18                         Page 6 of 43 PageID 6


dormant. Cadle Co. v. Fahoum, No. 02-06-00459-CV, 2008 WL 754992, at *2 (Tex. App.—Fort

Worth Mar. 20, 2008, no pet.) (mem. op.); see TEX. CIV. PRAC. & REM. CODE ANN. § 34.001(b). 1

        16.      Texas Civil Practice and Remedies Code section 63.001(3) requires that the “plaintiff

has a valid, subsisting judgment.” TEX. CIV. PRAC. & REM. CODE ANN. § 63.001(3). The allegations

in the garnishment suit signed by Stout are false. Pallida’s affiant swears that “plaintiff has a valid,

subsisting judgment,” which is also false.

        17.      Plaintiff filed a Motion to Dissolve the Writ of Garnishment in Cause No. CV18-0758

on July 23, 2018, and served a copy on Pallida through service on Stout.

        18.      The grounds for dissolution, among others in Plaintiff’s Motion, include notice that

the judgment sought to be collected by Pallida and Stout is dormant. Therefore, Defendants have

notice of that the underlying judgment is neither valid not subsisting.

        19.      Stout filed the Affidavit from a representative of Pallida, and the Affidavit is a

fraudulent “court record” as that term is defined by TEX. PENAL CODE § 37.01 and further interpreted

by State v. Vasilas, 187 S.W.3d 486 (Tex. Crim. App. 2006). The false affidavit was filed with the

knowledge that the record was false; evidencing a false claim against personal property; with the

intent to cause financial injury and/or mental anguish or emotional distress.

        20.      The foregoing acts and omissions as described above were undertaken by a

representative of Pallida, who functioned as an employee and/or agents of Pallida. The affiant was

acting within the course and scope of her employment at all times relevant to this matter.




1 The cited language is from Keith M. Jensen, P.C. v. Roger M. Briggs, Jr., 02-14-00096-CV, 2007 (Tex. App. – Fort
Worth 3-26-2015, no pet.)(mem. op.)



COMPLAINT and DEMAND FOR JURY TRIAL - Page 6
      Case 4:18-cv-00870-P Document 1 Filed 10/23/18                    Page 7 of 43 PageID 7


        21.      The foregoing acts and omissions of the Defendants were undertaken by them

willfully, intentionally, knowingly, and/or in gross disregard for the rights of the Plaintiff.

        22.      The foregoing acts and omissions of the Defendants were undertaken indiscriminately

and persistently, as part of their regular and routine collection efforts, and without regard to or

consideration of the rights of the Plaintiff.

                                               First Claim for Relief

        23.      The Plaintiff repeats, realleges, and incorporates by reference the foregoing para-

graphs. The Defendants’ violations of the FDCPA include, but are not limited to the a. following:

                 a.       In violation of 15 U.S.C. § 1692d, the Defendants engaged in conduct the
                          natural consequence of which was to harass, oppress, or abuse a person in
                          connection with the collection of a debt, which conduct included filing an
                          Application for Turnover which sought seizure of proceeds of exempt
                          property; filing an Application for and obtaining a Writ of Garnishment to
                          enforce a dormant judgment; and supporting the Application for the Writ of
                          Garnishment with an affidavit that falsely claimed the underlying judgment
                          was valid and subsisting when it was dormant.

                 b.       In violation of 15 U.S.C. § 1692e(2)(a), 15 U.S.C. § 1692e(10) and the “least
                          sophisticated consumer standard”, the Defendants used objectively false
                          representations and/or false, deceptive or misleading representations or means
                          in connection with the collection of a consumer debt. Defendants
                          misrepresented that proceeds of exempt property could be seized to satisfy a
                          judgment; and misrepresented the status of the judgment as valid and
                          subsisting when it was dormant.

                 c.       In violation of 15 U.S.C. § 1692(e)(5) and the “least sophisticated consumer”
                          standard, the Defendants threatened to take an action (and actually took such
                          an action) which cannot legally be taken or that is not intended to be taken.
                          Such actions include misrepresenting that proceeds of exempt property could
                          be seized to satisfy a judgment; and misrepresenting the status of the
                          judgment as valid and subsisting when it was dormant.




COMPLAINT and DEMAND FOR JURY TRIAL - Page 7
      Case 4:18-cv-00870-P Document 1 Filed 10/23/18                    Page 8 of 43 PageID 8


                   d.     In violation of 15 U.S.C. § 1692f, the Defendants used unfair or unconscion-
                          able means to collect or attempt to collect a consumer debt, which conduct
                          included filing an Application for Turnover which sought seizure of proceeds
                          of exempt property; filing an Application for and obtaining a Writ of
                          Garnishment to enforce a dormant judgment; and supporting the Application
                          for the Writ of Garnishment with an affidavit that falsely claimed the
                          underlying judgment was valid and subsisting when it was dormant.

        24.        Under 15 USC § 1692k, the Defendants’ violations of the FDCPA render them jointly

and severally liable to Plaintiff for statutory damages, actual damages, costs, and reasonable

attorney's fees.

                                          Second Claim for Relief

        25.        The Plaintiff repeats, realleges, and incorporates by reference the foregoing

paragraphs. The Defendants’ violations of the TDCA include, but are not limited to the following:

                   a.     In violation of TEX. FIN. CODE § 392.301(a)(8), Defendants threatened to take
                          (and/or did take) an action prohibited by law.

                   b.     In violation of TEX. FIN. CODE § 392.304(a)(8), Defendants misrepresented
                          the status and character of the debt as being legally enforceable, when it was
                          not.

                   c.     In violation of TEX. FIN. CODE § 392.304(a)(19), Defendants used false
                          representations and deceptive means to collect a consumer debt.

        26.        Under TEX. FIN. CODE ANN. § 392.403, the Defendants’ violations of the TDCA

render them jointly and severally liable to Plaintiff for actual damages, statutory damages, injunctive

relief, declaratory relief, costs, and reasonable attorney's fees.

                                               Third Claim for Relief

        27.        The Plaintiff repeats, realleges and incorporates by reference the foregoing

paragraphs.




COMPLAINT and DEMAND FOR JURY TRIAL - Page 8
      Case 4:18-cv-00870-P Document 1 Filed 10/23/18                     Page 9 of 43 PageID 9


                 a.       Pursuant to TEX. FIN. CODE ANN. § 392.404, the Defendants’ violations of the
                          TDCA also constitute a deceptive trade practice under Subchapter E, Chapter
                          17, Business & Commerce Code (“DTPA”), and is actionable under that
                          subchapter.

        28.      Under TEX. BUS. & COM. CODE ANN. § 17.50(b)(2), the Defendants’ violations of the

DTPA render them jointly and severally liable to Plaintiff for injunctive relief, and reasonable

attorney's fees. Specifically, Plaintiff seeks to enjoin Defendants from making false representations

as to: (1) the seizure of the proceeds of exempt property through the turnover process; and (2) the

collection of dormant judgments to any consumer in the state of Texas.

                                               Fourth Claim for Relief

        29.      The Plaintiff repeats, realleges and incorporates by reference the foregoing

paragraphs. Defendants’ violations of the CPRC are as follows:

                 a.       Defendants filed a fraudulent “court record” as that term is defined by TEX.
                          PENAL CODE § 37.01 and further interpreted by State v. Vasilas, 187 S.W.3d
                          486 (Tex. Crim. App. 2006), specifically, the application filed by Stout and
                          Pallida’s affidavit signed by Courtney Dodd. These documents were filed
                          with the knowledge that the statements contained in that court record were
                          false; evidencing a false claim against Plaintiff’s personal property; with the
                          intent to cause financial injury and/or mental anguish or emotional distress.

                 b.       Based on the false allegations in the application and the affidavit, the Clerk of
                          the 43rd Judicial District Court issued a Writ of Garnishment on Frost Bank,
                          which has impounded the personal property of Plaintiff.




COMPLAINT and DEMAND FOR JURY TRIAL - Page 9
    Case 4:18-cv-00870-P Document 1 Filed 10/23/18                     Page 10 of 43 PageID 10


                                                Prayer for Relief

        WHEREFORE, the Plaintiff prays that this Court:

        1.       Declare that Defendants’ actions violate the FDCPA, the TDCA and the DPTA.

        2.       Enjoin the Defendants’ actions which violate the TDCA and the DTPA.

        3.       Enter judgment in favor of Plaintiff and against Defendants for actual damages,
                 statutory damages, costs, and reasonable attorneys' fees as provided by 15 U.S.C. §
                 1692k(a) and/or TEX. FIN. CODE ANN. § 392.403 and/or TEX. BUS. & COM. CODE §
                 17.50(d) and/or TEX. CIV. PRAC. & REM. CODE § 12.002.

        4.       Grant such further relief as deemed just.


                                                    Respectfully submitted,

                                                    /s/ Jerry J. Jarzombek
                                                    Jerry J. Jarzombek
                                                    Texas Bar No. 10589050
                                                    THE LAW OFFICE OF JERRY JARZOMBEK, PLLC
                                                    301 Commerce Street, Suite 2900
                                                    Fort Worth, Texas 76102
                                                    817-348-8325
                                                    817-348-8328 Facsimile

                                                    ATTORNEY FOR PLAINTIFF




COMPLAINT and DEMAND FOR JURY TRIAL - Page 10
    Case 4:18-cv-00870-P Document 1 Filed 10/23/18                 Page 11 of 43 PageID 11


                                      DEMAND FOR JURY TRIAL

        Plaintiff demands trial by jury in this action.


                                                Respectfully submitted,


                                                /s/ Jerry J. Jarzombek
                                                Jerry J. Jarzombek
                                                Texas Bar No. 10589050
                                                THE LAW OFFICE OF JERRY JARZOMBEK, PLLC
                                                301 Commerce Street, Suite 2900
                                                Fort Worth, Texas 76102
                                                817-348-8325
                                                817-348-8328 Facsimile

                                                ATTORNEY FOR PLAINTIFF




COMPLAINT and DEMAND FOR JURY TRIAL - Page 11
Case 4:18-cv-00870-P Document 1 Filed 10/23/18   Page 12 of 43 PageID 12




            Exhibit A
   Case 4:18-cv-00870-P Document 1 Filed 10/23/18                 Page 13 of 43 PageID 13


                                      CAUSE NO. CV071588

PALLIDA, LLC, successor in interest of §             IN THE DISTRICT COURT
DOKEKA, LLC,                           §
                                       §
     Garnishor, Plaintiff,             §             43rd JUDICIAL DISTRICT
                                       §
v.                                     §
                                       §             PARKER COUNTY, TEXAS
ANDREA D. SMITH,                       §
                                       §
     Defendant.                        §


     PLAINTIFF’S APPLICATION FOR TURNOVER ORDER & APPOINTMENT OF A RECEIVER


TO THE HONORABLE COURT:

       COMES NOW Plaintiff Pallida, LLC, successor in interest of Dodeka, LLC (“Movant”)

and files this Application for Turnover Order & Appointment of a Receiver, and in support thereof

would respectfully show the Court as follows:

              I. APPLICATION FOR TURNOVER & APPOINTMENT OF A RECEIVER

       Movant’s predecessor in interest obtained a Judgment in this Court on February 6, 2008,

against Andrea D. Smith (“Judgment Debtor”) in the amount of $18,003.73, all costs of court,

attorney’s fees in the amount of $400.00, and post-judgment interest at the rate of 7.25%. The

judgment is now final, fully enforceable, and due to Movant in full plus interest accruing from and

after the date of this Motion. A true and correct copy of said Judgment is attached hereto and

incorporated herein as Exhibit “A.”

       Judgment Debtor owns or controls one or more properties or assets not exempt from

attachment, execution, or other seizure for the satisfaction of liabilities. Specifically, Judgment

Debtor owns non-exempt personal property in the form of funds being held by Frost Bank for

benefit of Judgment Debtor. A true and correct copy of the Original Answer of Frost Bank to Writ


PLAINTIFF’S APPLICATION FOR TURNOVER AND APPOINTMENT OF A RECEIVER                          PAGE 1
     Case 4:18-cv-00870-P Document 1 Filed 10/23/18                 Page 14 of 43 PageID 14


of Garnishment after Judgment filed in Cause No. CV17-0117 is attached hereto and incorporated

herein as Exhibit “B.” Judgment debtor is actively asserting a right to possession and custody of

those funds by virtue of a Motion to Enforce Judgment filed in an ancillary garnishment

proceeding. A true and correct copy of that Motion is attached hereto as Exhibit “C.”

       Movant requests that the Court order Judgment Debtor to turn over any and all of the items

in the following requests. Unless otherwise stated, all time periods for the requests are for the three

(3) years preceding this motion. “Respondent” includes Judgment Debtor. “Records” and

“documents” are mutually inclusive.

1.     All checks, cash, accounts at financial institutions, securities (stocks and bonds),
       promissory notes, documents of title, deeds, and contracts owned by or in the name of
       Judgment Debtor or subject to the Judgment Debtor’s control;

2.     Legible copies of all personal and business federal income tax returns filed by or prepared
       for Respondent, together with all schedules, attachments, W-2 forms, 1099 forms and all
       similar federal income summary forms;

3.     All statements, canceled checks and deposit slips for all checking accounts, savings
       accounts, credit union accounts or other depository accounts, held either separately or
       jointly, for all accounts in which Respondent’s name is on the printed checks, in which
       Respondent has an interest and/or in which Respondent has signatory authority. This
       includes all trust accounts on which the Respondent may sign;

4.     Copies of all financial statements prepared by or on behalf of Respondent, including all
       such statements presented to any financial institution and/or any other party for the purpose
       of guaranteeing, securing or attempting to secure a loan or financial assistance of any kind;

5.     All booklets, current and annual statements and all other documents evidencing the nature
       and extent of Respondent’s rights under any stock option plan, retirement plan, pension or
       profit sharing plan, employee stock ownership plan, company savings plan, thrift fund
       matching plan, and all other similar plans;

6.     The most recent statements, deposit confirmation slips, documents evidencing the balance,
       term and interest rates for every amount of money and assets in which Respondent has any
       interest, whether separately or jointly, invested by or for the Respondent in cash
       management funds, certificates of deposit, money market funds, treasury bills, bonds,
       debentures or other type investment and acquisition paying or promising to pay a return on
       Respondent’s monies invested;



PLAINTIFF’S APPLICATION FOR TURNOVER AND APPOINTMENT OF A RECEIVER                              PAGE 2
      Case 4:18-cv-00870-P Document 1 Filed 10/23/18                Page 15 of 43 PageID 15


7.      All certificates of stock or brokerage house statements evidencing all ownership and every
        purchase, sale, assignment or transfer of stocks, bonds, debentures and/or other securities
        (whether in privately held or publicly traded companies or institutions) owned by
        Respondent or in which Respondent has a beneficial interest;

8.      All documents and records showing all business holdings, partnerships (general, limited or
        otherwise), sole proprietorships, trusts, corporations, joint ventures and any other business
        organizations of every kind in which Respondent is a partner or has an interest and assumed
        name certificates under which Respondent has done or is doing business;

9.      All active or inactive policies of insurance, whether life, health, auto, disability,
        homeowners, personally or otherwise, of which Respondent is the owner, beneficiary,
        insured, heir to the proceeds, beneficiary of existing or identified trust funded by insurance
        proceeds;

10.     All deeds, deeds of trust, land installment contracts, contracts for deeds, syndications, real
        estate investment trusts, partnership agreements, easements, rights of way, leases, rental
        agreements, documents involving mineral interests, mortgages, notes and closing
        statements relating to all real property in which any Respondent has or in which
        Respondent had or has any interest;

11.     All certificates of title, firearms, deer stands, ATV’s, boats, trailers, and motors,
        documentation regarding hunting or fishing leases or rights or the rights to time share units
        or the use of property, tickets to events, like ballet or sporting events, proof of spa or club
        memberships, current licenses, receipts, bills of sale and loan documents for all motor
        vehicles and farm equipment, including automobiles, trucks, motorcycles, recreational
        vehicles, boats, trailers, airplanes and other motorized vehicles and equipment owned by
        Respondent or in which Respondent has and had any interest;

12.     For every trust of which a Judgment Debtor is a trustee, joint trustee, beneficiary, settlor
        or trustor which conveyed, transferred, assigned, created any options to purchase, or
        disposed of any interest in real property or personal property in any manner, furnish
        documents evidencing the manner of disposition and the consideration received or to be
        received. Furnish all documents showing all evaluations of Respondent’s interest, share of
        principal and income and documents showing the principal and income allocated to
        Respondent whether or not distributed during the last three (3) years;

13.     All documents and records of all safe deposit boxes maintained by Respondent or to which
        Respondent has had access, or has a claim, right or interest in, including all lists of all
        contents therein. Identify the location of all the safe deposit boxes and deliver the keys to
        the Receiver;

14.     All documents constituting and describing each Respondent’s accounts receivable, whether
        or not collected. Deliver all documents identifying the accounts receivables of all
        businesses which Respondent owns and in which Respondent has or had any interest, and
        a copy of all collected, offset, credited, uncollected, discounted, assigned, pledged and
        exchanged accounts receivables;

PLAINTIFF’S APPLICATION FOR TURNOVER AND APPOINTMENT OF A RECEIVER                              PAGE 3
      Case 4:18-cv-00870-P Document 1 Filed 10/23/18              Page 16 of 43 PageID 16



15.     All copies of every appraisal of real estate or personal property in which Respondent or
        Respondent’s spouse has or had any interest;

16.     Every inventory or list of real or personal property, application for credit been made by
        Respondent, including all estimates of value placed on each item;

17.     Deliver all mail, unopened, as it is received;

18.     All documents, notes, bills, statements and invoices evidencing all current indebtedness
        payable by Respondent or paid off by Respondent, and all assignments of promissory notes
        made by Respondent;

19.     All lease agreements for personal property and real property executed by Respondent,
        whether as lessee, lessor, sublessee, sublessor, assignee or assignor, including any mineral
        interest leases;

20.     Deliver records of all travelers checks, cashier’s checks, money orders, drafts and draws
        that were received, cashed or purchased;

21.     Deliver the names, addresses and telephone numbers of all organizations and persons
        within Respondent’s knowledge who has or may have knowledge of the status of property
        in which Respondent has and had an interest, whether being community or separate
        property, the Respondent’s liabilities and the location and value of Respondent’s assets.
        This includes banks, savings and loan associations, mortgagees, merchants, credit
        providers, brokers, credit unions, financial institutions, security dealers, people and
        organizations dealing with mineral interests who have received information from
        Respondent regarding or including information about Respondent’s assets and interests,
        income, and liabilities;

22.     All records that would indicate the cost basis of Respondent’s assets;

23.     Copies of the current inventory and all past inventories, accounts receivable of all ongoing
        businesses which Respondent owns and had an interest and copies of all collected, offset,
        credited, uncollected discounted, assigned, pledged and exchanged accounts receivable of
        all businesses owned by Respondent and in which Respondent has or had any interest;

24.     All contracts in which Respondent is a party or has or had a beneficial interest, including
        all earnest money contracts, construction contracts, rental or lease contracts and sales
        agreements in which Respondent is due a commission or other remuneration. If Respondent
        is presently under the terms of any written employment contract or agreement or is due any
        remuneration under any past contract or agreement, furnish a copy of the contract or
        agreement;

25.     All minute books, ledgers, corporate records and resolutions pertaining to Respondent or
        pertaining to any corporation or business in which Respondent has or had any interest;


PLAINTIFF’S APPLICATION FOR TURNOVER AND APPOINTMENT OF A RECEIVER                           PAGE 4
      Case 4:18-cv-00870-P Document 1 Filed 10/23/18                Page 17 of 43 PageID 17


26.     All documents evidencing every gift, bailment, loan, gratuitous holding, assignment, sale,
        hypothecation, discounted transfer, transfer into lock box payment, and transfer of
        Respondent’s property of any nature;

27.     All records of every kind and character showing all personal property in which Respondent
        has or had any interest in the State of Texas, the United States of America or any other
        place;

28.     All the articles of incorporation, minute books, partnership agreements and assumed name
        records of all companies, partnerships, corporations and proprietorships that have owners,
        employees, officers, directors, shareholders and partners which are or were also owners or
        employees of Respondent;

29.     All employment records or pay records to indicate every business for which Respondent
        was employed, provided services, was an independent contractor, general contractor,
        superintendent, agent or subcontractor;

30.     All checks, cash, securities (stocks and bonds), promissory notes, deeds, deeds of trust,
        documents of title, contracts, accounts receivable, escrow agreements, retainage
        agreements, records and all documents that identify all property in which Respondent has
        an interest and that which is collateral or security for any obligation or contingent
        obligation of Respondent, along with all documents indicating any interest of the
        Respondent in rental agreements, royalty agreements, licenses, bailment agreements,
        filings pursuant to the Uniform Commercial Code security agreements, assignments, all
        filed or recorded liens, lis pendens, lawsuits, recorded mechanics and materialmen’s lien
        affidavits, judgments, abstracts, partnership agreements, employment agreements, as well
        as all documents indicating each Judgment Debtor’s present and prospective heirship,
        beneficial interest in trusts, beneficial interest in insurance policies and insurance coverage
        and right to any insurance policies cash surrender value or ownership in which respondent
        has or had any interest; and

31.     A listing of all air miles and rewards programs, with the last three (3) months’ statements.

        Movant further asks that the Court to appoint a disinterested, qualified third-person as

receiver of Judgment Debtor’s Property. The Court should authorize and empower the receiver to

take possession and hold in custodia legis all non-exempt property of Judgment Debtor whether

in the Judgment Debtor’s possession or is subject to the Judgment Debtor’s control, including, but

not limited to the following:

(a)     All documents or records, including financial records, related to such property that is in the
        actual or constructive possession or control of Judgment Debtor;



PLAINTIFF’S APPLICATION FOR TURNOVER AND APPOINTMENT OF A RECEIVER                              PAGE 5
      Case 4:18-cv-00870-P Document 1 Filed 10/23/18              Page 18 of 43 PageID 18


(b)     All cash, all financial accounts including but not limited to bank accounts, certificates of
        deposit, money market accounts, accounts held by any third party;

(c)     All securities;

(d)     All real property and personal property including boats, airplanes, motor vehicles, and
        trailers;

(e)     All safety deposit boxes;

(f)     All cash of any nature including gifts or payments made on behalf of Judgment Debtor,
        whether in the Judgment Debtor’s possession or is subject to Judgment Debtor’s control;

(g)     All negotiable instruments, including promissory notes, drafts, and checks; (h) causes of
        action or choses of action;

(h)     All contract rights, whether present or future; and

(i)     All accounts receivable, of every nature, type, and description.

        Movant further requests that the Receiver, with respect to Judgment Debtor and his

property, be granted the additional rights, authority, and powers to:

(a)      pay any cash or cash equivalent to Movant in full or partial satisfaction of the Judgment
         rendered in this matter;

(b)      collect all accounts receivable of Judgment Debtor;

(c)      change locks at all premises at which any property is situated (except Judgment Debtor’s
         homestead);

(d)      open all mail directed Judgment Debtor or any business of Judgment Debtor, and have
         Judgment Debtor’s mail forwarded to the address of the Receiver;

(e)      obtain Judgment Debtor’s federal income tax returns, which Judgment Debtor shall be
         required to timely prepare and present annually to the Receiver, credit information, and
         credit reports;

(f)      endorse and cash all checks and negotiable instruments payable to Judgment Debtor
         (except paychecks for current wages or other exempt income);

(g)      sell or lease any non-exempt real property or mineral interest of Judgment Debtor;

(h)      hire any person or company to move and store property of Judgment Debtor;



PLAINTIFF’S APPLICATION FOR TURNOVER AND APPOINTMENT OF A RECEIVER                            PAGE 6
      Case 4:18-cv-00870-P Document 1 Filed 10/23/18               Page 19 of 43 PageID 19


(i)      obtain from any financial institution, bank, credit union or savings and loan any financial
         records belonging to or pertaining to Judgment Debtor;

(j)      obtain from any landlord, building owner, or building manager where Judgment Debtor or
         Judgment Debtor’s business is a tenant, copies of Judgment Debtor’s lease, lease
         application, credit application, payment history, and copies of Judgment Debtor’s checks
         for rent or other payments;

(k)      hire any person or company necessary to accomplish any right or power under this order;

(l)      take all action necessary to gain access to storage facilities, safety deposit boxes, real
         property, and leased premises wherein any property of Judgment Debtor may be situated,
         and to obtain copies of all documents related to the same;

(m)      file IRS Form 56, Notice Concerning Fiduciary Relationship, and require Judgment
         Debtor to comply with all of his responsibilities to prepare and file timely tax returns,
         provided that the Receiver shall have no responsibility for the accuracy or timely filing of
         any tax return;

(n)      obtain and use Judgment Debtor’s credit reports;

(o)      schedule hearings and meetings and directing parties and witnesses to give testimony and
         to rule upon the admissibility of evidence at such hearings; and

(p)      place witnesses under oath and examining them himself or through his agents.

(q)      redirect, lease, or sell all telephone numbers belonging to any Judgment Debtor.

(r)      seize, monitor, close, lease, renegotiate, or sell all websites, domain names, and e-mail
         addresses which Judgment Debtor owns or controls, including all derivations of the names
         and addresses (“domain names”), for cash or by purchase money note or in any other
         manner deemed acceptable by the Receiver in his sole discretion, for prices deemed to be
         reasonable by Receiver, and on terms and conditions deemed to be reasonable by Receiver
         and subject to all liens.

        Lastly, Movant asks that the Court order Judgment Debtor to deliver to the Receiver, a

copy of all keys and a list of all personal identification numbers (PINs), passwords, and

combinations, with a clear list explaining what each key, PIN, etc. opens, where to locate the items

to which the keys and PINs, etc. are related, and what is contained in the items to which the keys,

PINs, etc. are associated. As protection for this power, Movant ask the Court to enjoin anyone but

the Receiver from changing keys, codes, PINs, etc., without the Receiver’s prior written consent.


PLAINTIFF’S APPLICATION FOR TURNOVER AND APPOINTMENT OF A RECEIVER                            PAGE 7
   Case 4:18-cv-00870-P Document 1 Filed 10/23/18                  Page 20 of 43 PageID 20


                    II. RECOMMENDATION OF STAN WRIGHT AS RECEIVER

       Movant respectfully recommends the appointment of Former United States Bankruptcy

Trustee Stan Wright as receiver. Mr. Wright has extensive expert knowledge in the recovering

assets, including, if necessary, the use of involuntary bankruptcy to ensure adequate protection to

creditors in this matter. Further, Mr. Wright is a Certified Public Accountant, which may be helpful

in dissecting the financial condition of the Judgment Debtor. Lastly, Mr. Wright’s credentials and

trustworthiness have already been vetted by the United States court system.

                                     III. ATTORNEY’S FEES

       As a result of Judgment Debtor’s failure and refusal to pay the judgment rendered in this

cause, Movant has been required to retain the undersigned legal counsel to institute and prosecute

this motion. Movant will pay and incur liability to pay the fees for those services. Movant is,

therefore, entitled to recover from Judgment Debtor the sum of $1,000.00 as a reasonable fee for

the attorney's services rendered and to be rendered in this Court. In the event of an appeal or other

proceeding in the court of appeals, Movant would be further entitled to $10,000.00 as a reasonable

attorney's fee; in the event of an appeal or other proceeding in the Texas Supreme Court, Movant

would be entitled to an additional $5,000.00.

                                           IV. PRAYER

       WHEREFORE, Movant request that the Court set the motion for hearing, if necessary,

and issue the Order for Turnover and Appointment of a Receiver as described herein:

       1.      Appoint a qualified person, to serve as receiver for the Interests described in this

               motion;

       2.      Order Judgment Debtor to turnover and deliver to the receiver, without delay, all

               Interests listed in this motion and all documents relating to or evidencing



PLAINTIFF’S APPLICATION FOR TURNOVER AND APPOINTMENT OF A RECEIVER                            PAGE 8
   Case 4:18-cv-00870-P Document 1 Filed 10/23/18                Page 21 of 43 PageID 21


              Judgment Debtor’s interest in that property and any other non-exempt property in

              the possession of Judgment Debtor;

       3.     Direct and empower the receiver to possess, control, and deal with the Interests

              and any other non-exempt property as set out in this motion or otherwise so as to

              apply the Interests toward satisfaction of Movant' judgment;

       4.     Render judgment against Judgment Debtor in favor of Movant for attorney's fees

              in the amount of $1,000.00, together with interest as allowed by law, costs of suit;

       5.     Enter an Order granting the receiver’s fee, in an amount equal to 25% of all

              amounts collected by the receiver, be taxed as costs against Judgment Debtor but

              shall not reduce the amount of the Plaintiff’s Judgment; and

       6.     Such other and further relief as to which Movant may be entitled.


                                            Respectfully Submitted,

                                            PADFIELD & STOUT, L.L.P.
                                            421 W. Third Street, Suite 910
                                            Fort Worth, Texas 76102
                                            817-338-1616 phone
                                            817-338-1610 fax



                                             /s/ Mark W. Stout
                                            Mark Stout
                                            State Bar I.D. #24008096
                                            ms@padfieldstout.com
                                            Matthew D. Giadrosich
                                            State Bar I.D. #24064830
                                            mdg@padfieldstout.com




PLAINTIFF’S APPLICATION FOR TURNOVER AND APPOINTMENT OF A RECEIVER                           PAGE 9
   Case 4:18-cv-00870-P Document 1 Filed 10/23/18                  Page 22 of 43 PageID 22


                                    CERTIFICATE OF SERVICE

        I certify that on October 23, 2017, a true and correct copy of Plaintiff’s Application for
Turnover and Appointment of Receiver was forwarded to Defendant Andrea D. Smith through
her attorney of record, Jerry J. Jarzombek, via e-service and/or email.

                                              /s/Mark W. Stout
                                              Mark W. Stout

                                  CERTIFICATE OF CONFERENCE

        I certify that I conferred with Defendant Andrea D. Smith through her attorney of record,
Jerry J. Jarzombek, regarding the relief sought in this motion. He indicated that he was opposed
to such relief.

                                              /s/Mark W. Stout
                                              Mark W. Stout




PLAINTIFF’S APPLICATION FOR TURNOVER AND APPOINTMENT OF A RECEIVER                           PAGE 10
Case 4:18-cv-00870-P Document 1 Filed 10/23/18   Page 23 of 43 PageID 23




            Exhibit B
   Case 4:18-cv-00870-P Document 1 Filed 10/23/18 Filed:
                                                    Page06/21/2018
                                                           24 of 43 PageID
                                                                      11:59 24
                                                                            a.m.
                                                  Sharena Gilliland
                                                  District Clerk
                            CAUSE NO. CV071588 Parker County, Texas
                                                     Kelsey      Simcox
DODEKA, LLC,                          §               IN THE DISTRICT COURT
                                      §
     Plaintiff                        §
                                      §
v.                                    §               43RD JUDICIAL DISTRICT
                                      §
                                      §
ANDREA D. SMITH,                      §
                                      §
     Defendants,                      §             PARKER COUNTY, TEXAS

                  ORDER DENYING PLAINTIFF’S APPLICATION
                FOR TURNOVER AND APPOINTMENT OF RECEIVER

       BE IT REMEMBERED that on the 18th day of June, 2018 came to be considered

Plaintiff’s Application for Turnover Order and Appointment of Receiver.          After hearing

arguments of counsel and reviewing the documents filed in this cause, the Court finds that the

Plaintiff’s Motion is not well-taken and should be DENIED.

       IT IS, THEREFORE, ORDERED, ADJUDGED, AND DECREED that Plaintiff’s

Application for Turnover Order and Appointment of Receiver is DENIED.



                    21st day of June, 2018.
       SIGNED this ______



                                           __________________________________________
                                           JUDGE PRESIDING




ORDER DENYING PLAINTIFF’S APPLICATION FOR TURNOVER AND APPOINTMENT OF RECEIVER        PAGE Solo
Case 4:18-cv-00870-P Document 1 Filed 10/23/18   Page 25 of 43 PageID 25




            Exhibit C
     Case 4:18-cv-00870-P Document 1 Filed 10/23/18            Page  2606/21/2018
                                                                Filed:   of 43 PageID 26 a.m.
                                                                                    11:45
                                                                Sharena Gilliland
                                                                District Clerk
                                  CAUSE NO. CV17-0117           Parker County, Texas
                                                                   Kelsey      Simcox
PALLIDA, LLC, successor in interest of         §                 IN THE DISTRICT COURT
DODEKA, LLC,                                   §
                                               §
       Garnishor, Plaintiff                    §
                                               §
v.                                             §                 43RD JUDICIAL DISTRICT
                                               §
                                               §
ANDREA D. SMITH                                §
                                               §
       Defendant.                              §
                                               §
FROST BANK                                     §
                                               §
       Garnishee                               §                PARKER COUNTY, TEXAS

                              ORDER TO ENFORCE JUDGMENT

       BE IT REMEMBERED that on the 18th day of June, 2018 came to be considered

Defendant’s Motion to Enforce Judgment. After hearing arguments of counsel and reviewing the

documents filed in this cause, the Court finds that the Defendant’s Motion should be

GRANTED, and that the Judgment of this Court entered on June 27, 2017 be enforced as to its

terms which state that if the Judgment-Defendant appealed the Judgment that the

Plaintiff/Garnishor and/or Garnishee return all funds awarded them to the Judgment-Defendant.

       IT IS, THEREFORE, ORDERED, ADJUDGED, AND DECREED that Frost Bank,

Garnishee, return the funds impounded by the writ of Garnishment to Andrea D. Smith,

Defendant (less the attorney’s fees of Frost Bank in the amount of $1,500.00, which is paid

from the funds of the Judgment Defendant).



                    21st day of June, 2018.
       SIGNED this ______



                                             __________________________________________
                                             JUDGE PRESIDING
ORDER GRANTING DEFENDANT’S MOTION TO ENFORCE JUDGMENT                                PAGE Solo
Case 4:18-cv-00870-P Document 1 Filed 10/23/18   Page 27 of 43 PageID 27




            Exhibit D
 Case 4:18-cv-00870-P Document 1 Filed 10/23/18                            Page 28 of 43 PageID 28
Writ of Garnishment



                                         '         '




                                      CAUSE'Nd. C:V-18-0758 ·
Pallid a, LLC, Successor in Int~rest .       ot·       §<,,,   ,,                            IN THE
Oodeka, LLC

v.                                                     § '                      43RD DISTRICT COURT

Frost Bank                                             §'                    PARKER COUNTY, TEXAS


THE STATE OF TEXAS

TO: Frost Bank, by Serving Registered Agent Stanley E. McCormick Jr., 100 W. Houston Street San
Antonio, TX 78205, Garnishee, Greetings:

WHEREAS, in the 43rd District Court of Parker County, Texas in a certain cause wherein Pallida,
LLC, Successor in interest of Dodeka, LLC is Plaintiff and Andrea D. Smith is Defendant, the
Plaintiff, claiming an indebtedness against the said Andrea D. Smith iD the sum of $ 18,003.73,
besides interest and costs of suit, has applied for a writ of garnishment against you, Frost Bank.

NOW THEREFORE, you are hereby commanded to be and appear before the said court at 117 Fort
Worth Hwy, Weatherford, Texas in said county at ten o'clock A.M. on the Monday next following
the expiration of twenty days from the date of service hereor then and there to an.swer upon oath
what, it anything, you are indebted to the said Andrea D. Smith and were wben this writ was served
upon you, and what effects, if any, of the said Andrea D. Smith you have in yo ur possession, and had
when this wri t was served, and what other persons, if any, within your knowledge, are indebted to the
said Andrea D. Smith or have effects belonging to him in their possession.

You are further commanded NOT to pay to defendant any debt or to deliver to him any effects,
pending further order of this court. HEREIN fail not, but make due answer as the law directs.

ISSUED and given under my hand and seal of said Court on this the 22nd day of June, 201 8.

                                                                    SHARENA GILLILAND
                                                                    District Clerk




                                                                           Deputy



TO: Andrea D. Smith
                                                                                              ,,
YOU are hereby notified thai ce1tain properties alleged to be owned by you have been garnishee
If you claim any rights in such property, you are advised:
                                                                                             N
                                                                                              0
' 'YOU HA VE A RJGHT TO REGAIN POSSESSION OF THE PROPERTY BY FILING A
REPLEVY BOND. YOU HAVE A RIGHT TO SEEK TO REGAIN POSSESSION OF THE
PROPERTY BY FlLTNG WITH nrn COURT A MOTION TO DISSOLVE THIS WRIT."
                     .-   ... ....
                             -



      \. ::_! -·Case       '·.
                \ ;~-~ ....4:18-cv-00870-P   Document 1 Filed
                                                        -~--  10/23/18    Page 29 of 43 PageID 29

                                                       . '·



                                                                  I   •




                                                      _j.   !




...   ;     .. -
•;          :-:·
~   .....   ·~· ·.
,.
     '   . ...    Case 4:18-cv-00870-P Document 1 Filed 10/23/18
                 Writ of Garnishment
                 TRCP 661 -663a
                                                                                         Page 30 of 43 PageID 30




                                                          OFFICER'S RET UR.l~



                 Came to hand on the      o{a              ~        day of             S    2od_ at '.Q;}- o'clock .Jt:l M and
                 execu ted on the ;;J -'l.                 :fv;?:e,  day of                 20 ~ at ~."-(s; o'clock F £M at _
                 ___/_1}~0"'---_W_._ _,_//i....,o
                                             .....=u.....s<..h--=-c."'-'
                                                             .c -'---__.Sc;,._..J_._ _ ____,~ - - - - - - m Parker County,
                 Texas by deliveri ng to the withi n named Garnishee Sv$AN M<,//2,(2                                m person a
                 true copy of this writ, having fi rst endorsed thereonJ.l:!e date of deli,.~ery .

                 Fee$     3   S,l)O                                      JAVIER SALAZAR, SHERIFF Sheriff/Constable
                                                                          BEXAR COUNTY, TEY~'\S
                                                                           _ _ _ _ __ __ County, Texas

                                                                           By    ~ . ,4.            ckA,)            Depu ty
                                                                                R.CHAPA 3119 :l1!J
                    ER IFF 'SCase 4:18-cv-00870-P Document 1 Filed 10/23/18
BE XA R CO UN TY SH                                                           Page 31 of 43 PageID 31
                       DEPT.
     t-.T TEMP TE,_....:          __
                         SE._ RV IC
                  D ::..;.;             _   E
                                           ...;_


                                R""li/1. RK... .
 o. _t~.J--t-•       TIME       I   C1w i /"\ '\ ~
                                           ---
                 ··~

                 I                                   ..

                 r
                 I          '              --- ··
 = l
 --1---          I
 I
                                '
                                •




                                                                                                            \




                                                                                                        •
Case 4:18-cv-00870-P Document 1 Filed 10/23/18   Page 32 of 43 PageID 32




            Exhibit E
  Case 4:18-cv-00870-P Document 1 Filed 10/23/18                    Page 33 of 43     PageID 33
                                                                                Filed: 6/22/2018 11 :57 AM
                                                                                   Sharena Gilliland
                                                                                   District Clerk
                                                                                   Parker County, Texas
                                          CV18-0758
                                                                                   Sharon Hall

                                    Cause No. - - - - - - -

PALLIDA, LLC, successor in interest of             §                    IN THE DISTRICT COURT
DODEKA,LLC                                         §
                                                   §
vs.                                                §                    43RD JUDICIAL DISTRICT
                                                   §
                                                   §
FROSTBANK                                          §                  PARKER COUNTY, TEXAS

                       APPLICATION FOR WRIT OF GARNISHMENT

TO THE HONORABLE JUDGE OF SAID COURT:

        Pallida, LLC, successor in interest of Dodeka, LLC, Plaintiff herein, makes application for

the issuance of a writ of garnishment against Frost Bank, Garnishee, and as grounds for the writ

would respectfully show the Court as follows:

                                                  -1.

       Plaintiff is a judgment creditor of Judgment Defendant Andrea D. Smith.

        Garnishee Frost Bank is a financial institution with its principal place of business located at

100 W. Houston Street, San Antonio, Texas 78205. Service o\the Writ of Garnishment may be had

on the garnishee by serving its registered agent, Stanley E. McC01mick Jr., at 100 W. Houston

Street, San Antonio, Texas 78205.

                                                  II.

       In Cause No. CV071588 on the docket of this Court, styled Pallida, LLC, successor in

interest ofDodeka, LLC vs. Andrea D. Smith, Plaintiff obtained judgment against such Defendant

(hereinafter refen-ed to as "Defendant") on February 6, 2008, in the amount of $18,003.73, all costs

of court, attorney's fees in the amount of $400.00, and post-judgment interest at the rate of

7.25%. Said judgment is valid and subsisting and remains unsatisfied.




APPLICATION FOR WRIT OF GARNISHMENT -                                                            Pagel
  Case 4:18-cv-00870-P Document 1 Filed 10/23/18                    Page 34 of 43 PageID 34




                                                III.

       Defendant does not possess, within affiant's knowledge, property in Texas subject to

execution sufficient to satisfy said judgment. The garnishment applied for is not sued out to injure

either Defendant or Garnishee. Affiant has reason to believe, and does believe, that the said

Garnishee is indebted to the Defendant by reason of one or more bank accounts and furthermore,

Garnishee may be in possession of property of Defendant by way of safe deposit box(es) located in

Garnishee's bank:(s) leased to Defendant.

       WHEREFORE, Plaintiff prays that a writ of garnishment be issued against Frost Bank.



                                                       PADFIELD & STOUT, L.L.P.
                                                       421 W. Third Street, Suite 910
                                                       Fort Worth, Texas 76102
                                                       (817) 338-1616 phone
                                                       (817) 338-1610 fax

                                                       ls/Mark W. Stout
                                                       Mark W. Stout
                                                       State Bar I.D. #2400.8096
                                                       mstout@padfieldstout.com
                                                       Matthew D. Giadrosich
                                                       State Bar I.D. #24074274
                                                       mdg@padfieldstout.com

                                                       Attorneys for P/a;ntiff




APPLICATION FOR WRIT OF GARNISHMENT -                                                      Page2
                           ,.·' ... ,

      Case 4:18-cv-00870-P Document 1 Filed 10/23/18                Page 35 of 43 PageID 35




                                            CAUSE NO. _ _ _ _ __

 PALLIO A, LLC, successor in interest of§                  IN THE DISTRICT COURT
 DOKEKA, LLC,                           §
                                                   §
          Garnislwr, Plaintiff,                    §       43rd JUDICIAL DISTRICT
                                                   §
 v.                                                §
                                                   §       PARKER COUNTY, TEXAS
FROST BANK,                                        §
                                                   §
         GMn~he~                                   §



         AFFIDAVIT OF COURTNEY DODD IN SUPPORT OF PALLIDA, LLC's
                 APPLICATION FOR WRIT OF GARNISHMENT

STATE OF TEXAS                          §
                                        §
COUNTY OF TAYLOR                        §

         Before me, the undersigned authority, on this day personally appeared Courtney

Dodd, who being personally known to me, stated under oath that the following

information is -W:ithin her personal knowledge and is true and correct:

         1.     My name is Courtney Dodd. I am over 18 years of age, of sound mind, and

capable of making this affidavit. The facts stated in this affidavit are within my personal

knowledge and are true and correct.

         2.     I am an authorized representative of Pallida,·LLC, ("Pallida") successor in

interest of Dodeka, LLC ("Dodeka"), the current owner of, and successor to, the judgment

in respect of which Pallida seeks garnishment in this case. I serve as the custodian of the

bus.iness records of Pallida and as such I am a qualified witness.




                                                       1
  Case 4:18-cv-00870-P Document 1 Filed 10/23/18              Page 36 of 43 PageID 36




       3.     In my role as custodian of Pallida' s business records, I am familiar with how

these records have been prepared, maintained ·and stored.           My responsibilities as

custodian of business records for Pallida include b:ut are 1iot limited to the storage,

retrieval and review of general business records that Pallida keeps in the normal course

of business. These records include but are not limited to records of bills of sale, account

statements, credit card agreements, credit card statements, and other account documents.

The records also include but are not limited to court documents and the documents and

client communications sent and received by the attorneys for Pallida and its predecessors

in interest before, during and after the law suit cause No. CV 071588 in the 43 rd District

Court of Parker County, styled as Dodeka, LLC v. Andrea D. Smith. All or substantially all

of Pallida' s business records are stored at its office address at 2003 Western A venue Suite

340, Seattle WA 98121. I live in Taylor County, Texas, but the Pallida business records

are stored electronically and are thus available to me.

       4.     I have personally examined the records at issue in this matter. The account

holders and Pallida' s predecessors in interest kept the records in the regular course of

business and it was in the regular course of business for an employee or representative

with knowledge of the act, event, condition, opinion or diagnosis to make the record or

transmit information to be included in such record. The records were made at or near the

time of the act, event, condition, opinion or diagnosis or reasonably soon thereafter.

      5.     I have personal knowledge of how the credit account records were

prepared by the predecessors in interest because I have observed how credit account

records are prepared and maintained by the previous account holders. In addition, I have

                                             2
  Case 4:18-cv-00870-P Document 1 Filed 10/23/18              Page 37 of 43 PageID 37




personally reviewed the record preparation and maintenance procedures with the staff

of the previous account holders. Additionally, I can attest the previous account holders

have procedures to retain the integrity of these records while in the custody of the

previous account holders. Such credit account records are now in the care, custody and

control of Pallida.

       6.      TI1e business records of Pallida' s predecessors in interest which are now in

the possession of Pallida were kept in the regular course of business and it was in the

regular course of business for an employee or representative of such pe~son with

knowledge of the act, event, condition, opinion or diagnosis, recorded to make the record

or to transmit information thereof to be included in the record. The records were made at

or near the time or reasonably soon after the act, event, condition, opinion, or diagnosis

that was recorded. The records are the originals or exact duplicates of the originals.

       7.     Pallida' s business records are kept in the regular course of business, and it

is in that regular course of business for an employee or representative of Pallida with

knowledge of the act, event, condition, opinion or diagnosis recorded to make the record

or to transmit information thereof to be included in such record. The records were made

at or near the time or reasonably soon after the act, event, condition opinion or diagnosis

that was recorded. The records are the originals or exact duplicates of the originals.

       8.     The business records attached to this affidavit are business records of

Pallida, received from its predecessors and maintained, or prepared and kept,

respectively, in the regular course of Pallida' s business.



                                              3
  Case 4:18-cv-00870-P Document 1 Filed 10/23/18                Page 38 of 43 PageID 38




       9.         My review of the business records of Plaintiff reflects that: On February 6,

2008, in the Lawsuit, the. Court entered a Judgment in favor of Plaintiff against ANDREA

D SMITH ("Judgment Defendant"). The Judgment awarded Plaintiff the sum of

$18,003.73, all costs of court, attorney's fees in the amount $400.00, and post-judgment

interest at the rate of 7.25% ("Judgment"). The Judgment is valid and subsisting and the

records of Plaintiff reflect that there are $0.00 credited to such balance to date. Therefore,

the Judgment remains not completely satisfied to date. Judgment Defendant has not filed

an appeal for the Judgment or posted a supersedeas bond.

       10.        Plaintiff has conducted post-judgment review of its records, as well as

Internet and public records database se~rches regarding Judgment Defendant to try to

locate non-exempt assets subject to execution within the State of Texas, but Plaintiff found

none sufficient to satisfy the Judgment. A portion of these searches was done as recently

as June 21, 2018. I have personally reviewed the results of these searches. Additionally,

Plaintiff had made substantial efforts to communicate with Judgment Defendant and/ or

to obtain satisfaction of the Judgme1;1t or other information regarding non-exempt asset.

Such efforts included the following:

             a.   Plaintiffs predecessor-in-in terest sent Judgment Defendant a Post-

                  Judgment Notice of Intent to Take Deposition in Aid of Judgment at his/her

                  last known address on or about June 18th, 2010. Judgment Defendant did

                  not attend such deposition.

             b. Plaintiff's predecessor-in-in terest sent a settlement offer to Judgment

                  Defendant at his/her last known address on or about March 1st, 2012

                                                4
   Case 4:18-cv-00870-P Document 1 Filed 10/23/18               Page 39 of 43 PageID 39




              c. Plaintiff's predecessor-in-interest sent a post-judgment demand letter to

                  Judgment Def~ndant at her last known address on or about August 28th,

                  2013.

             d. Plaintiff's predecessor-in-interest filed an application for writ of

                  garnishment on or about September 11th, 2013. The writ of garnishment

                  was issued on October 23rd, 2013 and served upon the bank, but Plaintiff

                  voluntarily dismissed the garnishment.

             e. Plaintiff's predecessor-in-interest sent a settlement offer to Judgment

                  Defendant at his/her last known address on or about April 14th, 2014.

             f.   Plaintiff sent a settlement offer to Judgment Defendant at his/her last

                  known address on or about March 6th, 2015.

             g. Plaintiff sent a settlement, offer to Judgment Defendant at his/her last

                  known address on or about March 18th, 2016.

             h. Plaintiff sent a post-judgment demand letter to Judgment Defendant at

                  their last known address on or about January 6th, 2017.

       11.        Plaintiff's business records reflect that Judgment Defendant has failed or

refused to respond to Plaintiff's communications and pleadings in a way that has

completely satisfied the Judgment or otherwise disclosed or 1·evealed any non-exempt

assets within the state of Texas.

       12.        Within my knowledge and my knowledge of Plaintiff's records, Judgment

Defendant does not possess property in Texas subject to execution that is sufficient to

satisfy the Judgment.

                                               5
  Case 4:18-cv-00870-P Document 1 Filed 10/23/18              Page 40 of 43 PageID 40




       13.    Upon information and belief, garnishee Frost Bank is a financial institution

conducting business in Texas that may be served with process by serving any president,

vice president or branch manager at, Atb:l: Ben McCormick, 100 W. Houston St., San

Antonio, TX 78205 or whereve1· it may be found. Based on a review of the records of

Plainti(f, the last known add~ess of the Judgment Defendant is as follows: 242 Beaudelaire

Dr., Weatherford, TX 76087.

       14.    I have reason to believe, and do believe, that Garnishee financial institution,

Frost Bank, is indebted to Judgment Defendant based on orders entered by the 43 rd

Judicial District Court of Parker County in a prior garnishment action as well as

information obtained by Plaintiff from a third party investigator's report of non-exempt

assets, which I have also reviewed as part of Plaintiff's records.

      15.     The garnishment is not sought to injure the Judgment Defendant or

Garnishee.

      16.     Attached as Exhibit A is a true and correct copy of the affidavit of service

signed under oath by Raymond L. Whatley, Jr. and filed in the record of Case# CV071588,

Dodeka, LLC, v. Andrea D. Smith, on October 9, 2007.

      17.     Attached as Exhibit B is a true and correct copy of the Bill of Sale

documenting the sale of the account and judgment from Dodeka to Alasia, LLC on

September 11, 2011.

      18.    Attached as Exhibit C is a true and correct copy of the Bill of Sale

documenting the sale of the account and judgment from Alasia, LLC to Lutea, LLC on

December 31, 2012.

                                             6
  Case 4:18-cv-00870-P Document 1 Filed 10/23/18              Page 41 of 43 PageID 41




        19.   Attached as Exhibit D is a true and correct copy of the Bill of Sale

documenting the sale of the account and judgment from Lutea, LLC to Cerastes, LLC on

December 19, 2014.

        20.   Attached as Exhibit E is a true and correct copy of the Bill of Sale document

the sale of the account and judgment from Cerastes, LLC, to Pallida on December 19,

2014.

        21.   Attached as Exhibit F is a true and correct copy of a deposition notice that

The Burroughs Law Firm, PLLC (Burroughs"), Pallida' s counsel, sent to Ms. Smith by

certified and US Mail on December 19, 2008.

        22.   Attached as Exhibit G is a true and correct copy of a second deposition

notice that Burroughs sent Ms. Smith on June 18, 2010.

        23.   Attached as Exhibit H is a true and correct copy of a letter Burroughs sent

Ms. Smith on August 24, -2010.

        24.   Attached as Exhibit I is a h·ue and correct copy of a third notice of

deposition and accompanying cover letter sent to Ms. Smith by Weinstein & Riley, P.S.

("WR"), successor to the Burroughs firm as counsel in this matter, on November 2, 1011.

        25.   Attached as Exhibit J is a true and correct copy of a letter sent to Ms. Smith

by WR on March 1, 2012.

        26.   Attached as Exhibit K is a true and correct copy of a letter sent to Ms. Smith

by WR on January 11, 2013.




                                             7
  Case 4:18-cv-00870-P Document 1 Filed 10/23/18             Page 42 of 43 PageID 42




       27.    Attached as Exhibit Lis a true and correct copy of a notice of appearance

and designation of counsel and notice of assignment of the judgment from Dodeka to

Lu.tea that WR sent Ms. Smith on May 15, 2013.

       28.    Attached as Exhibit M is a true and correct copy of a letter WR sent to Ms.

Smith on August 28, 2013.

       29.    Attached as Exhibit N is a true and correct copy of an application for a writ

of garnishment that Lu.tea filed against Ms. Smith on September 17, 2013. According to

Pallida' s records, Lu.tea nonsuited the application.

       30.    Attached as Exhibit O is a true and correct copy of a letter WR sent to Ms.

Smith on March 6, 2015.

       31.    Attached as Exhibit Pis a true and correct copy of a motion for substitution

of counsel that WR sent to Ms. Smith on June 19, 2015.

      32.     Attached as Exhibit Q is a true and correct copy of a notice of change of

contact information that WR sent to Ms. Smith on March 18, 2016.

      33.     Attached as Exhibit R is a true and co:rect copy of a notice of assignment of

judgment from Lu.tea to Cerast~s that WR sent to Ms. Smith on December 29, 2016.

      34.     Attached as Exhibit S is a true and correct copy of a notice of assignment of

judgment from Cerastes to Pallida that WR sent to Ms. Smith on December 29, 2016.

      35.     Attached as Exhibit Tis a true and correct copy of a letter WR sent to Ms.

Smith on January 6, 2017.

      36.     Attached as Exhibit U is a true and corn~ct copy of the notice sent to Ms.

Smith by WR on February 27, 2017.

                                             8
  Case 4:18-cv-00870-P Document 1 Filed 10/23/18                 Page 43 of 43 PageID 43




       37.    Accm·ding to Pallida's business rec01·ds, Ms. Smith -<;iid    not resp,jnd fo ari.y

of the communic ations made to her by Pallida or its piedetessors itt hi.tere$t with regard

to the account or the jud~ent., 11.or t,-Ud. she .a ppear in iesponse to any of the notices of

depps.itton. Accotd4i.g to Pallida; s bt1smess i-ecotds, all of the communic ations sent to Ms.

Smith by ceitified mail were retutned toPalHd~ oi• it.s pred.ec~ssoi-s as unclaime~i. ·

       38.    All of th~ ~ommunic ations sent to Ms. Sµlith by or oh behalf of Pallid a .a11d

its predecessors in interest W~t~ setitt9 24:2 J3eat.ideli:lire Prh% W~athe-rford TX 76.087.

       39.    l hav~ t~viewed     the affidavit I signe.ct. pt\ April 14, 2017, in suppoi-t of

P~da's applicatioi1    for a priot writ of garnishment, ~nd in i'~spo11.sE:! to M.s. Smith's

111oti9n to dissolve that prior writ     of garnishment. Th:e informatio n contained in ·that

af.fidqvit remains ttue a11d correct."

       Further, Affiaµt sayeth naught.




                                                    t9 b¢.fore Pl¢ by Qourtney Dodd on
                                                    · .lch witness iny 1 nd attd offipial seal.




                                                9
